                                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                                  FOR THE DISTRICT OF KANSAS

 In re:
      Diana Lynn Arsenault                                                                                 Case No.:
                                                                                                           Chapter 13


                                                                                    Debtor.

                                                                                                              Check if this is an amended plan
                                                                                                                        Amended Plan (e.g., 1st, 2nd)

                                                                            CHAPTER 13 PLAN
 Section 1:          NOTICES
      Throughout this plan, the singular word “debtor” means both debtors if this is a joint case.
Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
     You should read this plan carefully and discuss it with your attorney if you have one. If you do not have an attorney, you may
wish to consult one.
     If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation. The Bankruptcy Court may confirm this plan without
further notice if no objection to confirmation is filed. You must file a timely proof of claim in order to be paid by the Chapter 13
Trustee (“Trustee”) under any plan.
Debtor: You must check one box on each line to state whether the plan includes any of the following items.
For any line, if the “Not Included” box is checked, neither box is checked, or both boxes are checked, and a provision of that type is
included in the plan, the provision will be ineffective.
 A limit on the amount of a secured claim, set out in Section 10 or 11, which                          Included                   Not Included
 may result in a partial payment or no payment at all to the secured creditor
 Non-Standard Provisions (see Section 18)                                                              Included                   Not Included

 Section 2:          EFFECT OF CONFIRMATION
    Confirmation of the plan will be deemed a finding by the Bankruptcy Court that debtor has complied with all of the
applicable sections of 11 U.S.C. §§ 1322 and 1325 and that debtor has fulfilled all preconfirmation obligations under 11 U.S.C.
§ 521. Failure to timely object to confirmation of the plan is deemed consent to the plan. Confirmation of a plan is without
prejudice to and does not affect the standing and ability of a party to object to a proof of claim, regardless of whether the
proof of claim is filed before or after confirmation of the plan. All future statutory references are to the Bankruptcy Code.

 Section 3: PLAN TERMS
    3.1 Debtor's annualized current monthly income for debtor's state and household size:
       is below the median and the “Applicable Commitment Period” is 3 years.
       is above the median and the “Applicable Commitment Period” is 5 years.
    3.2 Plan payments will be $400.00 per month.
    3.3 Plan payments include the following projected amount being paid pursuant to the means test calculation from Official Form
122C-1 and -2: $175.00.
    3.4 Plan payments shall be made by:
           debtor-pay order directed to debtor OR
           employer-pay order directed to:
     Debtor 1's Employer                                                                  Debtor 2's Employer

 Payment order to this employer                                      per               Payment order to this employer $           per
 $

 [Name]                                                                                [Name]
 [Attn]                                                                                [Attn]
 [Address]                                                                             [Address]
 [City, State ZIP]                                                                     [City, State ZIP]

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      3.5 Additional or varying payments.
            None. [If “None” is checked, the rest of Section 3.5 need not be completed or reproduced.]

 Section 4:          ADMINISTRATIVE FEES
     4.1 The Trustee will be paid up to 10% on all funds received.
     4.2 Debtor’s attorney fees will be paid through the plan as stated below, subject to modification by the Trustee of the time period
over which fees will be paid as necessary to make the plan feasible. Counsel for debtor reserves the right to submit additional fee
applications, but payment is subject to Court approval. Debtor consents to such increases in plan payments as may be necessary to pay
any approved additional fees. Allowed post-petition attorney fees not paid through the Trustee will not be discharged and shall be paid
directly by debtor to attorney post-discharge.
 Fees for the case:                                                                       $  2800 .00
 Case closing fees:                                                                       $  300.00
 Total fees paid to date:                                                                 $  400.00
 Balance of fees to be paid through the plan:                                             $  2,700.00
 Number of months over which fees shall be paid:                                          To Be Determined by Trustee
 Section 5: FILING FEE
           The filing fee has been paid OR
           $        has been paid and $                         will be paid by the Trustee.
 Section 6:          TAX RETURNS (for the preceding 4 years)
           have been filed OR
           have not been filed. Debtor has not filed returns for the following years:

 Section 7:          DOMESTIC SUPPORT OBLIGATIONS
“Domestic Support Obligation” (“DSO”) is defined by § 101(14A) and encompasses most child support, maintenance, and alimony
obligations.

       None. [If “None” is checked, Section 7 need not be completed or reproduced.]
 Section 8: PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS
     8.1 General Provision: Debtor will pay all allowed non-DSO priority claims under § 507 without post-petition interest. The
Trustee will pay the amount set out in the creditor’s proof of claim unless the Court sustains an objection to the claim. If a priority
claim creditor also claims a secured debt, the secured portion will be treated as a secured claim together with the Trustee’s discount
rate of interest as of the petition date, except for secured tax claims, which will be paid interest at the applicable non-bankruptcy rate
pursuant to § 511.
     8.2 Amounts Owed: Debtor estimates that these non-DSO priority creditors are owed the amounts indicated.
                                                          Creditor                                                 Estimated Amount Owed
 Internal Revenue Service                                                                                 $2,897.00
 Kansas Department of Revenue                                                                             $1,412.45
 US Attorney                                                                                              Notice Only

     8.3 Discharge: Payment through the Trustee of the principal (and pre-petition interest, if applicable) due on allowed pre-petition
priority claims will result in a full and total discharge of all debtor’s obligations for those claims to the extent such debts are not
otherwise excepted from discharge pursuant to the Bankruptcy Code.
 Section 9:          RELIEF FROM STAY REGARDING PROPERTY TO BE SURRENDERED
    Upon plan confirmation, any stays under § 362(a) and § 1301(a) shall be terminated as to any surrendered property. This
provision does not prevent the earlier termination of the stay by operation of law or by Court order. Nothing contained in this section
operates to permit in personam relief against debtor or to abrogate debtor’s rights and remedies under non-bankruptcy law. The
Trustee shall not make distributions to any secured claimant in this class, including any assignees and successors in interest of the
claimant.
                           Property to be Surrendered                                                   Creditor with Secured Claim
 2016 Subaru Cross Trek 45K miles                                                                              USAA Federal Savings Bank
 Adult son's car. Son drives and makes payments. Debtor
 claims no interest in the vehicle and is surrendering any
 interest she has in the vehicle.

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 Section 10: TREATMENT OF CLAIMS SECURED BY REAL ESTATE
           None. [If “None” is checked, the rest of Section 10 need not be completed or reproduced.]

 Section 11: DEBTS SECURED BY PERSONAL PROPERTY
         None. [If “None” is checked, the rest of Section 11 need not be completed or reproduced.]
     11.1 Lien retention and release
     Any secured creditor whose debt is secured by personal property will retain its lien pursuant to § 1325(a)(5) and shall be required
to release the lien at the time designated by § 1325(a)(5), including “910 car” loan creditors and “one-year loan” creditors, as defined
by the paragraph following § 1325(a)(9).
     11.2 Monthly payments
     “EMA,” referenced below, means “estimated monthly amount.” Valuation requires service of the plan in accordance with
Federal Rule of Bankruptcy Procedure 7004. Debtor proposes to pay personal property secured creditors the minimum EMA listed
below from the funds available to pay those claims, after the deduction of Trustee fees. If the Trustee has sufficient funds, the Trustee
may pay more than the minimum EMA. If the Trustee has insufficient funds to pay the minimum EMA, the Trustee may adjust the
payment so long as the claim will be paid before plan completion. Otherwise, the monthly payments specified below are minimum
amounts, and the actual amount may vary, depending on the amount of the allowed claim.
     11.3 Interest
     For each listed claim, the amount of the secured claim will be paid interest at the Trustee’s discount rate in effect on the date the
petition was filed, except for secured tax claims, which will be paid interest at the applicable non-bankruptcy rate pursuant to § 511.
The interest rate specified in the plan is binding and supersedes the terms stated in a proof of claim.
     11.4 Pre-Confirmation Payments
     If debtor proposes to make pre-confirmation payments, the amount stated below will be paid by the Trustee each month as if the
plan were confirmed and will continue to be paid upon confirmation. Any pre-confirmation payments paid by the Trustee will be
credited against the allowed secured claim as though the plan had been confirmed. To receive any pre-confirmation payment, a
creditor must file a claim that is allowed.
     11.5 General Personal Property Secured Claims
     Any non-governmental secured claim listed below (other than “910 car” loan creditors and “one-year loan” creditors) will be paid
the value of the collateral listed below or the amount of the claim, whichever is less, unless otherwise specified in “Non-Standard
Provisions” (see Section 18). The value of collateral listed below controls over a contrary amount set out in the proof of claim for a
non-governmental secured claim. For secured claims of governmental units, the amount of a secured claim set out in an allowed proof
of claim controls over a contrary amount listed below. The portion of any allowed claim that exceeds the amount of the secured claim
will be treated as an unsecured claim.
                Creditor                                             Collateral                     Debt                  Value          Minimum EMA
 OneMain                                        2011 Chevy Equinox 64000 miles               $5,572.00              $11,975.00           TBD by Trustee

    11.6 910 Car Loan Creditors: Each “910 car loan” creditor listed below will be paid the amount of the debt owed, unless the
creditor agrees to be paid less than the full amount.
                           Creditor                                                  Collateral                           Debt          Minimum EMA
 USAA Federal Savings Bank                                           2016 Subaru Cross Trek 45K miles     $18,765                 N/A. Debtor's son will pay.
                                                                     Adult son's car. Title in Debtor's
                                                                     name for insurance purposes.
                                                                     Debtor on loan. Son drives and
                                                                     makes payments. Debtor claims no
                                                                     interest in the vehicle and is
                                                                     surrendering any interest she has in
                                                                     the vehicle.
    11.7 One-Year Loan Creditors: Each “one-year loan” creditor listed below will be paid the amount of the debt owed, unless the
creditor agrees to be paid less than the full amount.
                           Creditor                                                  Collateral                           Debt          Minimum EMA
 -NONE-                                                                                                                               $ $
 Section 12: STUDENT LOAN OBLIGATIONS
    Student loan debt will survive the bankruptcy and is excepted from discharge unless debtor files an adversary proceeding to
determine the dischargeability of that debt and prevails on the merits.
 Section 13: EXECUTORY CONTRACTS AND UNEXPIRED LEASES
    Debtor assumes the executory contracts and unexpired leases listed below and will pay directly to the respective creditor any
pre-petition arrearage and post-petition payments. All other executory contracts and unexpired leases are rejected.
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                                Creditor                                            Description of Contract or Lease
 -NONE-


 Section 14: GENERAL UNSECURED CREDITORS
    General unsecured claims will be paid after all secured claims and all other unsecured claims, including administrative, priority,
and separate class claims, in an amount not less than the amount those creditors would receive if the estate of debtor were liquidated
under chapter 7.
 Section 15: BEST INTEREST OF CREDITORS TEST
    Debtor represents that the property listed below would have the specified liquidation value if it were administered in a chapter 7
case. [List property and explain how the computation of the liquidation value was made, or attach a separate document explaining
computation.]
          a. Total liquidation value: $175
          b. Explanation of calculation: Firearms valued at $250. Less 30% cost of liquidation equals $175.

 Section 16: VESTING
      All property of the estate will vest in debtor
               at discharge or dismissal of the case, OR
               at confirmation.
      [If neither box is checked, it will be deemed that vesting will occur at discharge or dismissal of the case.]
 Section 17: SEPARATE CLASS CREDITORS
        None. [If neither box is checked, it will be deemed that no separate class creditors exist. If there are no separate class
creditors, the rest of Section 17 need not be completed or reproduced.] OR
 Section 18: NON-STANDARD PROVISIONS
    Any Non-Standard Provision placed elsewhere in the plan is void. To the extent a Non-Standard Provision conflicts with any
other plan provision, the Non-Standard Provision controls.

         This plan has no Non-Standard Provisions.
         This plan has Non-Standard Provisions [Specify section number and topic heading the Non-Standard Provision modifies or
affects, if any.]: Section 15 BICT: Explanation of cost of liquidation for BICT.
Debtor signatures (optional if plan signed by counsel)


Respectfully submitted:

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By filing this document, debtor, if not represented by an attorney, or the attorney for debtor, certifies that the wording and order of the
provisions in this Chapter 13 plan are identical to those contained in the District of Kansas Local Form plan, other than any provision
included in Section 18, “Non-Standard Provisions.”

rev. 11.16.2017




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